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 7                       UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11         Plaintiff,                         Case No. 2:01-cr-00206-LDG (PAL)

12   v.                                       ORDER

13   ALBERTO MAGALLON-GUIZAR,

14         Defendant.

15

16         For good cause shown,

17         THE COURT ORDERS that Defendant Alberto Magallon-Guizar’s Request for Court

18   Transcripts and Docket Sheet and Government’s Expense (#187) is DENIED.

19

20   DATED this ______ day of May, 2011.
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22                                                       Lloyd D. George
                                                         United States District Judge
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